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 1                                  UNITED STATES DISTRICT COURT
 2                                NORTHERN DISTRICT OF CALIFORNIA
 3
                                                      Case No: 19-md-02913-WHO (JSC)
 4        IN RE: JUUL LABS, INC. MARKETING,
          SALES PRACTICES, AND PRODUCTS               CASE MANAGEMENT ORDER NO. 12:
 5        LIABILITY LITIGATION
                                                      IMPLEMENTATION ORDER FOR
 6                                                    SUPPLEMENTAL PLAINTIFF FACT SHEET
                                                      QUESTIONS AND RETAILER DEFENDANTS’
 7
                                                      FACT SHEET
 8
                                                      HONORABLE JUDGE WILLIAM H. ORRICK
 9
10            This Case Management Order (“CMO” or “Order”) governs the form, schedule for completion,

11   and service of personal injury Plaintiffs’ obligations to respond to the Supplemental Plaintiff Fact

12   Sheet (“PFS”) Questions required by the Court’s Order of August 6, 2020. (Dkt. No. 857.) This Order

13   also governs the form, schedule for completion, and service of the Retailer Defendants’ Fact Sheet

14   (“DFS”).

15            This Order applies to Defendant JUUL Labs, Inc. (“JLI”), Altria Group, Inc. and Philip Morris

16   USA Inc. (collectively, “the Altria Defendants”), the Retailer Defendants (Chevron Corporation,

17   Circle K Stores, Inc., Speedway LLC, 7-Eleven, Inc., Walmart, and Walgreen Co.), the Distributor

18   Defendants (McLane Company, Inc., Eby-Brown Company, LLC, and Core-Mark Holding Company,

19   Inc.) the E-Liquid Defendants (Mother Murphy’s Labs, Inc., Alternative Ingredients, Inc., Tobacco

20   Technology, Inc., and Eliquitech, Inc.), and the Director Defendants (Messrs. James Monsees, Adam

21   Bowen, Nicholas Pritzker, Hoyoung Huh, and Riaz Valani) (collectively, “Defendants”) and all

22   Plaintiffs and their counsel in: (a) all actions transferred to In re: JUUL Labs, Inc., Marketing, Sales

23   Practices, and Products Liability Litigation (“MDL-2913”) by the Judicial Panel on Multidistrict

24   Litigation (“JMPL”) pursuant to its Order dated October 2, 2019 and (b) to all related actions directly

25   filed in or removed to this Court.

26   I.       ONLINE PLATFORM

27            The Court hereby appoints BrownGreer, PLC (“BrownGreer”) to serve as the online platform

28   for the data management of the Revised Plaintiff Fact Sheet (hereinafter “Revised PFS”), the Plaintiff


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 1   Fact Sheet Addendum (hereinafter “PFS Addendum”), and the Retailer Defendants’ Fact Sheet
 2   (hereinafter “Retailer DFS”). BrownGreer shall work with the parties to compile all necessary data.
 3   Each party shall serve their respective responses to the Revised PFS, the PFS Addendum, or the
 4   Retailer DFS by uploading them to MDL Centrality. Uploading the responsive discovery to MDL
 5   Centrality shall constitute effective service.
 6   II.      COMPLETION OF SUPPLEMENTAL PLAINTIFF FACT SHEET QUESTIONS
 7            A.     Revised Plaintiff Fact Sheet
 8
              A Plaintiff who files a case on or after the date of the entry of this Order shall respond to the
 9
     Supplemental PFS Questions by completing and serving the Revised PFS. The Revised PFS, which
10
     contains the original forty-seven PFS questions and the two Supplemental PFS Questions, is hereby
11
     approved, and attached hereto as Exhibit 1. All provisions, procedures, and deadlines set forth in CMO
12

13   No. 8 (Dkt. No. 406) are deemed to apply to and govern completion of the Revised Plaintiff Fact Sheet.

14   The provisions, procedures, and deadlines set forth below for the PFS Addendum do not apply to the
15   Revised PFS.
16
              A Plaintiff whose case was filed before entry of this order but has not yet submitted a PFS may
17
     choose to answer the Supplemental PFS Questions through either the Revised PFS or the PFS
18
     Addendum.
19

20            B.     Plaintiff Fact Sheet Addendum
              A Plaintiff whose case was filed before the date of the entry of this Order and who has already
21
     submitted a PFS shall respond to the Supplemental PFS Questions by completing and serving a PFS
22
     Addendum, which the Court hereby approves by entry of this Order. See Exhibit 2.
23
                     1.      Plaintiff Verification of Supplemental PFS Questions
24
              Plaintiffs who signed a Declaration with submission of their PFS before entry of this Order
25
     may, but are not required to, sign a Declaration when responding to the PFS Addendum. Each
26
     Plaintiff’s responses to the Supplemental PFS Questions in the PFS Addendum are deemed to be
27
     answered under oath as a continuation of each Plaintiff’s signed Declaration for Plaintiff’s original
28


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 1   PFS. However, any Plaintiff selected for the Bellwether Discovery Pool, as defined by the Court’s
 2   Order Regarding Bellwether Selection (Dkt. No. 938), who has not signed a Declaration for the
 3   Supplemental PFS Questions will be required to supplement their PFS Addendum to include a
 4   signed Declaration within 30 days of selection.
 5                  2.       Attorney Verification
 6          For any Plaintiff who does not sign a Declaration on the PFS Addendum, Counsel must sign
 7   the PFS Addendum verifying that the Plaintiff provided and authorized the responses. Plaintiff
 8   Counsel’s verification is not a verification as to the accuracy of the responses to the Supplemental PFS
 9   Questions. A Plaintiff not represented by an attorney must sign the verification himself or herself.
10          Plaintiff’s Counsel must submit a completed “PFS Addendum” through MDL Centrality
11   pursuant to the terms of this Order. The obligation to comply with this CMO and to provide either a
12   Revised Plaintiff Fact Sheet or PFS Addendum shall fall solely to the individual counsel representing
13   a Plaintiff. As with all case-specific discovery, Plaintiffs’ Lead Counsel and the members of the
14   Plaintiffs’ Steering Committee are not obligated to conduct case-specific discovery for Plaintiffs by
15   whom they have not been individually retained. In addition, Plaintiffs’ Lead Counsel and the member
16   of the Plaintiffs’ Steering Committee have no obligation to notify counsel for Plaintiffs whom they do
17   not represent of Defendants’ notice of overdue or deficient discovery or to respond to any motion
18   practice pertaining thereto.
19                  3.       Discovery Mechanism
20          The effect of a Plaintiff’s responses to the Supplemental PFS Questions in the PFS Addendum
21   or Revised PFS shall be considered the same as interrogatory responses and will be governed by the
22   standards applicable to written discovery under the Federal Rules of Civil Procedure.
23          A PFS Addendum is served without prejudice to the Parties’ right to propound additional
24   discovery. The Parties have agreed that additional discovery requests are appropriate for those cases
25   that are chosen by the Parties and/or Court as potential bellwether candidates. The Parties do not
26   waive their rights to assert objections permitted under the Federal Rules of Civil Procedure to any
27   additional discovery.
28                  4.       Substantial Completeness of PFS Addendum


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 1            The PFS Addendum must be substantially complete, which means a Plaintiff must (a) answer
 2   all applicable questions (Plaintiffs may answer questions in good faith by indicating “not applicable,”
 3   “I don’t know,” or “unknown”); and (b) include either a signed Declaration from Plaintiff or Plaintiff
 4   Counsel’s signature verifying the responses provided are the responses of the Plaintiff. Responses
 5   such as “will supplement” or blanks will not constitute substantial completeness. If a Defendant
 6   considers a PFS Addendum to be materially deficient, a deficiency notice outlining the purported
 7   deficiency(ies) shall be served on the Plaintiff’s attorney of record via MDL Centrality. Plaintiff will
 8   have fifteen (15) days to correct the alleged deficiency(ies).
 9                   5.      Objections Reserved to PFS Addendum
10            All objections to the admissibility of information contained in the PFS Addendum are reserved;
11   therefore, no objections shall be lodged in the responses to the questions and requests contained
12   therein. This paragraph, however, does not prohibit a Plaintiff from withholding or redacting
13   information based upon a recognized privileged.
14                   6.      Confidentiality of Data
15            Information a Plaintiff provides in the PFS Addendum is deemed confidential, will only be
16   used for purposes related to this litigation, and may be disclosed only as permitted by the Protective
17   Order.
18                   7.      Scope of Depositions and Admissibility of Evidence
19            Nothing in the PFS Addendum shall be deemed to limit the scope of inquiry at depositions and
20   admissibility of evidence at trial. The scope of inquiry at depositions shall remain governed by the
21   Federal Rules of Civil Procedure. The Federal Rules of Evidence shall govern the admissibility of
22   information contained in responses to the PFS Addendum and no objections are waived by virtue of
23   providing information in any PFS Addendum.
24                   8.      Deadline for Submission of PFS Addendum
25            For Plaintiffs whose cases were filed before entry of this Order but the Plaintiff’s PFS has not
26   become due pursuant to CMO 8, the PFS Addendum is due at the same time the Plaintiff’s PFS is due
27   or 30 days after entry of this Order, whichever date is later. Plaintiffs who have already completed
28   and served a PFS, or whose PFS has already become due, must complete and submit the PFS


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 1   Addendum within 30 days after entry of this Order.
 2                  9.      Failure to Serve an Addendum to Plaintiff’s Fact Sheet
 3                          a.      Notice by Defendants of Overdue Discovery
 4          A Plaintiff subject to the PFS Addendum obligations under this Order may be subject to having
 5   his or her claims dismissed for failing to comply with this Order. If a Plaintiff fails to serve a
 6   completed PFS Addendum by the applicable due date set forth herein, any Defendant may serve a
 7   Notice of Overdue Discovery via MDL Centrality.
 8                          b.      Motion to Dismiss Without Prejudice
 9          If a Plaintiff subject to this Order fails to serve a completed PFS Addendum within 30 days
10   after receipt of the Notice of Overdue Discovery, any Defendant may move the court for an Order
11   dismissing the Plaintiff’s Complaint Without Prejudice. A Plaintiff subject to such motion shall have
12   14 days from the date of the Defendants’ motion to file a response either (a) certifying that the Plaintiff
13   has submitted a completed PFS Addendum or (b) opposing the Defendant’s motion for other reasons.
14   If a Plaintiff certifies that he or she has submitted a completed Supplemental PFS, the Plaintiff’s claims
15   shall not be dismissed (unless the Court finds that the certification is false or incorrect).
                            c.     Motion to Convert Order of Dismissal Without Prejudice to Order
16
                                   of Dismissal with Prejudice
17          If the Court dismisses a Complaint without prejudice under the previous paragraph, the
18   Defendant may move the Court no earlier than 30 days after the Court’s entry of the Order of Dismissal
19   Without Prejudice to Convert the Order to an Order of Dismissal With Prejudice. If the Plaintiff serves
20   Defendant’s counsel or their designee(s) with a completed PFS Addendum prior to the filing of
21   Defendant’s motion to convert a dismissal without prejudice to a dismissal with prejudice, the parties
22   shall submit a stipulated motion to vacate the dismissal without prejudice.
23   III.   RETAILER DEFENDANTS’ FACT SHEET
24          The Court hereby approves and adopts the Retailer Defendants’ Fact Sheet attached hereto as
25   Exhibit 3. If a Plaintiff, in response to Supplemental PFS question 49, indicates he or she was a
26   member of or enrolled in any loyalty or rewards program of a Retailer Defendant named in the Master
27   Complaint, the Retailer Defendant(s) indicated therein must submit a completed Retailer Defendants’
28   Fact Sheet and documents responsive to the requests therein through MDL Centrality no later than

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 1   sixty (60) days after the Plaintiff serves responses to the Supplemental PFS Questions, whether the
 2   submission is through a PFS Addendum or a Revised PFS.
 3

 4

 5          IT IS SO ORDERED.
 6   Dated: September 21, 2020
                                                         __________________________________
 7
                                                         WILLIAM H. ORRICK, III
 8                                                       United States Judge

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                                    EXHIBIT 1 to CMO No. 12



                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

                                                     )
IN RE JUUL LABS, INC., MARKETING,                    )       MDL No. 2913
SALES PRACTICES, AND                                 )       Case No. 19-md-02913-WHO
PRODUCTS LIABILITY LITIGATION                        )       JUDGE WILLIAM H. ORRICK
                                                     )

This Document Relates to:

       Plaintiff: [                                                                                ]

       Individual Case Docket No.: [                                                               ]


                      PLAINTIFF FACT SHEET - PERSONAL INJURY

        Please provide the following information for each individual who has filed a complaint or
on whose behalf a complaint has been filed in the In Re Juul Labs, Inc., Marketing, Sales Practices,
and Products Liability Litigation, MDL No. 13-2913. In completing this Plaintiff Fact Sheet, you
are under oath and must provide information that is true and correct to the best of your knowledge,
information and belief. Please do not leave any questions unanswered or blank. If you are filling
out this Fact Sheet in hard copy, use additional sheets as needed to fully respond.

      You may and should consult with your attorney if you have any questions regarding the
completion of this form.

       This Plaintiff Fact Sheet constitutes discovery responses subject to the Federal Rules of
Civil Procedure. Information provided will only be used for purposes related to this litigation
and may be disclosed only as permitted by the Protective Order.


I.     CASE INFORMATION

       1. Case name:

       2. Case number:

       3. Name of the court in which the complaint was initially filed:



       4. Filing date of the complaint:




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      5. Named plaintiff(s) in the complaint:



      6. Name, firm, and e-mail address of principal attorney(s) representing you:

           Name:

           Firm:

           Email address:


II.   REPRESENTATIVE CAPACITY

      If you are completing this questionnaire in a representative capacity (meaning on behalf
      of a minor, a decedent or a person who lacks capacity to complete it on their own),
      respond to the questions below on behalf of the person who used JUUL products. If you
      are completing this Fact Sheet for someone else, assume that “you” means the person
      who used JUUL products.

      7.      If you are completing this Fact Sheet on behalf of someone else (for example, a
              deceased person, an incapacitated person, or a minor), complete the following:

              a. Name of individual completing this Fact Sheet



              b. Your current address



              c. What is your relationship to the person upon whose behalf you have completed
                 this Fact Sheet? (for example, parent, guardian, Estate Administrator)




             d. If a court appointed you to act on behalf of a minor, an incapacitated person, or
                on behalf of the estate of a deceased person, state the court and date of
                appointment.



             e. If you represent a decedent’s estate, state the date and place of decedent’s death.




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                f. Are you filling out this form on behalf of an individual who is deceased and on
                    whom an autopsy was performed? Choose Yes/No: _________
                    If yes, state the following from the autopsy report of the individual: (NOTE: In
                    lieu of the following, you may attach a copy of the autopsy report.)
                    Date of autopsy:
                    Name of physician who performed autopsy:



               g. If you represent a decedent’s estate, do you contend that use of JUUL Products1
                  caused or contributed to the decedent’s death?

                    Choose Yes/No/Unsure at this time/Investigation ongoing:

                    ______________________________________

                    If yes, identify the decedent’s surviving spouse, parents, and children and
                    provide their addresses (or the addresses of their attorneys, if applicable) and the
                    age of any surviving children.

             Name                                    Address(es)                       Age of any surviving
                                                                                             children




1
    “JUUL Products” is defined to include all of JUUL’s products, including its vaping device and JUULpods.



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III.   PERSONAL INFORMATION

       8.    Legal Name:


             Other Names by which you have been known (maiden name, prior marriages or
             otherwise, if any):


       9.    Gender Identity:

       10.   Social Security Number:

       11.   Date and Place of Birth (City, State, Country):

             Date:

             Place of Birth:

       12.   List your current and previous addresses for the past five (5) years and
             the periods you resided at each location including addresses while at college:

                     Address(es)                                      Date

                                                                                    to
                                                                                         Present

                                                                                    to

                                                                                         Present

                                                                                    to
                                                                                         Present

                                                                                    to
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                                                                                    to
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                                                                                    to
                                                                                         Present




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                          Address(es)                                           Date

                                                                                              to
                                                                                                   Present

                                                                                              to

                                                                                                   Present

                                                                                              to
                                                                                                   Present


             13.    If married or in a domestic partnership/civil union, provide the following
                    information:

                    Name of spouse/partner:

             14.    Provide the following information about your education from the 7th grade onward:
School(s):


   Name of School        City and State            Dates of attendance             Grade(s)          Diploma
                                                                                  completed        Obtained (Y/N)
                                                                           to



                                                Present

                                                                           to



                                                Present

                                                                           to



                                                Present

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                                                Present

                                                                           to



                                                Present




                                                      5
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   Name of School       City and State          Dates of attendance            Grade(s)     Diploma
                                                                              completed   Obtained (Y/N)
                                                                       to



                                             Present

                                                                       to



                                             Present

                                                                       to



                                             Present

                                                                       to



                                             Present

                                                                       to



                                             Present




Post-Secondary Schools (i.e., College, Trade School, Training Programs, etc.):
  Name of School        City and State         Dates of attendance            Degree        Major or
                                                                            Awarded, If   Primary Field
                                                                               any
                                                                      to



                                            Present

                                                                      to



                                            Present

                                                                      to



                                            Present

                                                                      to



                                            Present



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Name of School         City and State           Dates of attendance              Degree        Major or
                                                                               Awarded, If   Primary Field
                                                                                  any
                                                                        to



                                             Present

                                                                        to



                                             Present

                                                                        to



                                             Present

                                                                        to



                                             Present

  IV.    EMPLOYMENT HISTORY

         15.     Complete the chart below detailing your employment history for the past five (5) years.
         Name of           City and State Where         Approximate Dates of         Occupation or
         Employer              You Worked              Employment (Month/Year          Job Title
                                                           to Month/Year)

                                                                      to

                                                                           Present

                                                                      to

                                                                           Present

                                                                      to

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                                                                      to

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Name of      City and State Where    Approximate Dates of         Occupation or
Employer         You Worked         Employment (Month/Year          Job Title
                                        to Month/Year)

                                                   to

                                                        Present

                                                   to

                                                        Present

                                                   to

                                                        Present

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V.   JUUL USE

     16.      Have you used JUUL Products?
              Choose Yes/No: __________

           a. If yes, identify whether you used the following JUUL Products (check all that
              apply).
                 JUUL Device

                 JUULpods

     17.      Do you currently use JUUL Products?
              Choose Yes/No: __________

     18.      Identify each flavor(s) of JUUL pods and the strength of JUUL pods you have used.
     Flavor                                         Strength

     _________________                             _________________

     _________________                             _________________

     _________________                             _________________

     _________________                             _________________

     _________________                             _________________

     _________________                             _________________

     _________________                             _________________

     _________________                             _________________




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     19.    With respect to the period(s) of your JUUL use, please provide (i) the approximate
            JUUL start date or re-start date (ii) the State where you started or re-started JUUL;
            (iii) the approximate date you stopped using JUUL for more than a week, if
            applicable; and (iv) frequency of using JUUL during each time period, including
            the approximate number of JUULpods used on average per day or per week.

Approximate Start Date     State Where       Approximate Date You        Frequency of JUULpods
   or Re-Start Date         Started or        Stopped Using JUUL         used on average (either
                            Re-Started           (If you stopped)        per day or per week)




                                                  Present



                                                  Present



                                                  Present



                                                  Present



                                                  Present


     20.    Do you have receipts, proof of purchase, and/or email confirmation for any of the
            JUUL Products you have used

            Choose Yes/No: ___________

     To the extent you have receipts, proof of purchase, and/or email confirmation for
     these products, provide copies of those receipts and other supporting documents.

     21.   Have you ever personally purchased JUUL Products directly from JUUL Labs, Inc.
           online (i.e from juul.com or juulvapor.com, as opposed to another retailer)?
           Choose Yes/No/I do not recall: _____________________
           If yes, provide the following:

                   a. Full name associated with the online JUUL account:


                   b. E-mail address (es) associated with the online JUUL account:




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               c. Physical address (es) associated with the online JUUL account:




22.    Did you purchase JUUL products from third-party websites (i.e., websites other than
       juul.com or juulvapor.com)?

       Choose Yes/No/I do not recall: _____________________

       a. If yes, identify all third-party websites where you purchased JUUL products and
          the approximate dates of purchase:

      Name                  Website Address            Approximate Dates of Purchase


                                                                                  to

                                                                                        Present

                                                                                  to

                                                                                        Present

                                                                                  to

                                                                                        Present

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23.    Did you purchase JUUL products from retail stores (i.e., traditional, brick-
       and-mortar locations such as convenience stores or vaping stores)?

       Choose Yes/No/I do not recall: _____________________

       a. If yes, identify all retail stores

Name                           Physical Address              Approximate Dates of Purchase

                                                                                      to

                                                                                           Present

                                                                                      to


                                                                                           Present

                                                                                      to

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                                               12
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      24.    Have you ever used JUUL Products that you did not personally purchase yourself?

             Choose Yes/No/I do not recall: _____________________

             a.   If yes, how did you obtain the JUUL Products that you did not personally
                  purchase? (Please select as many as are applicable).

                  __________________                       __________________

                  __________________                       __________________

                  __________________                       __________________

                  If other, please explain:




VI.   USE OF OTHER NICOTINE-CONTAINING PRODUCTS (NICOTINE PRODUCTS
      INCLUDE OTHER VAPING DEVICES AND E-CIGARETTES WITH NICOTINE,
      COMBUSTIBLE CIGARETTES, CIGARS, CHEWING TOBACCO, SNUFF, DIP,
      ETC.)


      A.     Before JUUL Use:

      25.    Did you use any nicotine-containing products before the first time you used JUUL?

             Choose Yes/No: _________

             a.   If yes, then limiting your answer to the time-period before your use of JUUL:
                  (a) list each nicotine-containing product by brand name that you used; (b) the
                  approximate time-period of use; and (c) frequency of use.

Type and Brand of Nicotine-        Approximate Time Period of               Frequency of Use of Other
   Containing Product                     Product Use                      Nicotine-Containing Product

                                                            to

                                                                 Present

                                                            to

                                                                 Present

                                                            to

                                                                 Present

                                                            to

                                                                 Present

                                               13
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Type and Brand of Nicotine-       Approximate Time Period of                Frequency of Use of Other
   Containing Product                    Product Use                       Nicotine-Containing Product

                                                          to

                                                                Present

                                                          to

                                                                Present

                                                          to

                                                                Present

                                                          to

                                                                Present

                                                          to

                                                                Present

                                                          to

                                                                Present




       B.    Use of Other Nicotine-Containing Products Overlapping with JUUL Use:

       26.   Did you use any other nicotine-containing products at any point during the same
             time-period that you have used JUUL?

             Choose Yes/No/Not applicable: ___________________

             a. If yes, then with respect to the time period that you used other nicotine-
                containing products that overlap with your use of JUUL (a) list each nicotine-
                containing product by brand name that you used; (b) the time-period of use that
                overlaps with your JUUL use; and (c) describe your frequency of use.

Type and Brand of Nicotine-        Approximate Time Period of               Frequency of Use of Other
   Containing Product               Product Use Overlapping                    Nicotine-Containing
                                        with JUUL Use                                Product
                                                           to

                                                                 Present

                                                           to

                                                                 Present




                                              14
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Type and Brand of Nicotine-       Approximate Time Period of                   Frequency of Use of Other
   Containing Product              Product Use Overlapping                        Nicotine-Containing
                                       with JUUL Use                                    Product
                                                           to

                                                                Present

                                                           to

                                                                Present

                                                           to

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                                                           to

                                                                Present



      C.    Use of Other Nicotine-Containing Products After Using JUUL:

      27.   Did you use any other nicotine-containing products after you stopped using JUUL?

            Choose Yes/No/N/A due to still using JUUL: _________________________

            a.   If yes, then after you stopped using JUUL (a) identify each nicotine-containing
                 product by brand name; (b) the approximate date-range of use that overlaps with
                 your JUUL use; and (c) describe your frequency of use.

  Type and Brand of Nicotine-         Approximate Time Period of                 Frequency of Use of Other
     Containing Product                      Product Use                            Nicotine-Containing
                                                                                          Product
                                                                to

                                                                     Present

                                                                to

                                                                     Present

                                              15
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 Type and Brand of Nicotine-          Approximate Time Period of             Frequency of Use of Other
    Containing Product                       Product Use                        Nicotine-Containing
                                                                                      Product
                                                              to

                                                                   Present

                                                              to

                                                                   Present

                                                              to

                                                                   Present

                                                              to

                                                                   Present

                                                              to

                                                                   Present

                                                              to

                                                                   Present

                                                              to

                                                                   Present

                                                              to

                                                                   Present



VII.   ADVERTISING

       28.   Did you ever see an advertisement for JUUL before or during the timeframe you
             were using JUUL Products?

             Choose Yes/No: ___________

             a.   If yes, identify the type of advertising you saw (internet, brochure, TV,
                  billboards, social media, store signs or displays, magazine, etc.).




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VIII. OTHER SUBSTANCE HISTORY.

     29.   Alcohol Consumption

           a.   Do you consume alcohol?

                Choose Yes/No: __________

           b.   If yes, on average, how much alcohol do you drink?

                Choose 1-5 drinks per week/6-10 drinks per week/10 or more drinks per

                week/Other: _________________________

                Explain:


     30.   Cannabis, THC, or Marijuana

           a.   Have you used cannabis/marijuana/THC?

                Choose Yes/No: __________

           b.   If you have used cannabis/marijuana/THC, did you use it before you started
                using JUUL?

                Choose Yes/No:__________

                I. If yes, please describe how often:



           c.   If you have used cannabis/marijuana/THC, did you use it during your period
                of JUUL usage?

                Choose Yes/No: __________

                I. If yes, please describe how often:



           d.   Please identify the device(s) and/or method(s) for your use or ingestion of
                cannabis, marijuana, or THC.




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      e.   Have you ever vaped cannabis/marijuana/THC with a JUUL Device?
           Choose Yes/No: __________

      f.   Have you ever used a vape device other than a JUUL device to vape
           cannabis/marijuana/THC?

           Choose Yes/No: __________

31.   Other Substances

      a.   Have you used any other recreational drugs?
           Choose Yes/No: __________

      b.   If yes, have you ever used a recreational drug two or more times?
           Choose Yes/No: __________

      c.   If yes, please identify: i) the name of each drug you used two or more times, ii)
           the period of drug usage in relation to your JUUL usage (check all that apply),
           and iii) how frequently you use(d) the drug.

           i) Name of Drug:

           ii) Period of drug usage in relation to JUUL usage (check all that apply):

               Before    During      After

           iii) Frequency of drug usage: ____________________________________

               If you selected “other”, please explain:

           i) Name of Drug:

           ii) Period of drug usage in relation to JUUL usage (check all that apply):

               Before     During     After

           iii) Frequency of drug usage: ____________________________________

               If you selected “other”, please explain:

           i) Name of Drug:

           ii) Period of drug usage in relation to JUUL usage (check all that apply):

               Before     During     After

           iii) Frequency of drug usage: ____________________________________

               If you selected “other”, please explain:
                                        18
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          i) Name of Drug:

          ii) Period of drug usage in relation to JUUL usage (check all that apply):

             Before     During     After

          iii) Frequency of drug usage: ____________________________________

             If you selected “other”, please explain:

          i) Name of Drug:

          ii) Period of drug usage in relation to JUUL usage (check all that apply):

             Before     During     After

          iii) Frequency of drug usage: ____________________________________

             If you selected “other”, please explain:

          i) Name of Drug:

          ii) Period of drug usage in relation to JUUL usage (check all that apply):

             Before     During     After

          iii) Frequency of drug usage: ____________________________________

             If you selected “other”, please explain:

          i) Name of Drug:

          ii) Period of drug usage in relation to JUUL usage (check all that apply):

             Before     During     After

          iii) Frequency of drug usage: ____________________________________

             If you selected “other”, please explain:




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IX.        MEDICAL BACKGROUND

           32.   Current Height:           feet              inches
                                                  ________

           33.   Current Weight:

           34.   During the seven (7) year period before you began using JUUL through the present
                 date, identify each of your primary care physicians (such as pediatricians, family
                 medicine doctors or internists) who treated you for any condition.

      Dates of Treatment            Name and address of healthcare               Condition
                                              provider

                              to



 Present

                              to



 Present

                              to



 Present

                              to



 Present

                              to



 Present

                              to



 Present

                              to



 Present




                                                   20
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                      to



Present




                                     21
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    Dates of Treatment        Name and address of healthcare   Condition
                                        provider

                         to



Present

                         to



Present

                         to



Present

                         to



Present

                         to



Present

                         to



Present

                         to



Present

                         to



Present

                         to



Present

                         to



Present


                                          22
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          35.   During the seven (7) year period before you began using JUUL through the present
                date, identify all hospitalizations and surgeries (including in-patient and outpatient
                surgeries) for any condition.
    Dates of Treatment                Name and address of hospital                Condition
                             to



Present

                             to



Present

                             to



Present

                             to



Present

                             to



Present

                             to



Present

                             to



Present

                             to


Present

                             to



Present

                             to



Present
                                                  23
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  36.     List all prescription medications that you have taken during the seven (7) year
          period before you started using JUUL through the present date.

List all Prescriptions            Approximate Dates of Use               Pharmacy Used


                                                          to

                                                               Present

                                                          to

                                                               Present

                                                          to

                                                               Present

                                                          to

                                                               Present

                                                          to

                                                               Present

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                                                          to

                                                               Present


                                           24
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List all Prescriptions   Approximate Dates of Use             Pharmacy Used


                                              to

                                                    Present

                                              to

                                                    Present

                                              to

                                                    Present

                                              to

                                                    Present

                                              to

                                                    Present

                                              to

                                                    Present

                                              to

                                                    Present

                                              to

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                                              to

                                                    Present

                                              to

                                                    Present


                                25
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    X.        INJURIES, ILLNESSES AND CONDITIONS

              37.       Have you sought medical treatment for any injury(ies), illness(es), or condition(s)
                        you claim were caused in whole or in part by JUUL products?

                        Choose Yes/No: __________

              38.       Identify injury (ies), illness (es), or condition(s) you claim were caused in whole or
                        in part by JUUL Products:

            Injury, Illness, or Condition                 Check all          Approximate            Is it ongoing?
                                                          that apply         date of onset              [Y / N]


a. Addiction

b. Nicotine Poisoning

c. Behavioral Issues/Mental Health:

   •     Anger/outbursts

   •     Mood swings

   •     Irritability

   •     Suicidal thoughts

   •     Suicidal attempts

   •     Death by suicide
   •     Other (specify):




d. Cognitive Issues:

   •     Attention Deficit Disorder

   •     Learning impairments

   •     Lack of concentration

   •     Trouble sleeping



                                                          26
           Case 3:19-md-02913-WHO Document 995 Filed 09/21/20 Page 33 of 51
           Injury, Illness, or Condition           Check all    Approximate     Is it ongoing?
                                                   that apply   date of onset       [Y / N]
   •   Other (specify)




e. Cardiovascular:

   •   Heart attack
   •   Other cardiovascular diagnosis (specify):




f. Death

g. Neurologic

   •   Seizures

   •   Stroke

h. Respiratory/Lung:
   •   Acute eosinophilic
       pneumonia/pulmonary eosinophilia
   •   Acute interstitial pneumonitis or Acute
       pneumonia
   •   Acute respiratory distress syndrome
       (ARDS)
   •   Asthma

   •   Bronchitis

   •   Chronic lung problems
   •   Chronic obstructive pulmonary disease
       (COPD)
   •   E-cigarette, or vaping, product use
       associated lung injury (EVALI)
   •   Emphysema

   •   Lipoid pneumonia

   •   Lung transplant

   •   Other specified interstitial pulmonary
       disease

                                                   27
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            Injury, Illness, or Condition             Check all          Approximate           Is it ongoing?
                                                      that apply         date of onset             [Y / N]
   •     Pneumonia (any type) (specify):



   •     Popcorn lung/bronchiolitis obliterans
i. Other personal injuries (specify):




       If you checked any of the injuries, illnesses, or conditions listed under 38(c) - Behavioral
       Issues/Mental Health, you must complete Authorization A1 - Mental Health, and answer the
       following question. If you did not check any of these, you do not need to complete
       Authorization A1 or answer the following question.
             39.    If you received treatment for any of the injuries, illnesses, or conditions identified
                    in any of the conditions listed under 38(c) - Behavior Issues/Mental Health, please
                    provide the following information:
       Name Provider/Facility/              Address of Provider/                Approximate Dates of
            Counselor                        Facility/Counselor                     Treatment

                                                                                                             to



                                                                              Present
                                                      28
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Name Provider/Facility/     Address of Provider/       Approximate Dates of
    Counselor                Facility/Counselor            Treatment
                                                                              to



                                                     Present

                                                                              to



                                                     Present

                                                                              to



                                                     Present

                                                                              to



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                                                                              to



                                                     Present

                                     29
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                40.   As to all other injuries, illnesses, and/or conditions you checked in the chart in
                      response to Question No. 38 above; please separately provide the information
                      requested in the Table below:

Injury, Illness, or   Did you receive Date range of treatment         Name and address of medical           Narrative /
    Condition           treatment?                                  provider (i.e. treating physician(s)      general
                          Yes / No                                    and/or healthcare facility(ies))     description of
                                                                                                             treatment

                                                             to   Name:


                                                                  Facility:


                                                                  Street:
                                          Present
                                                                  City:


                                                                  State:              Zip:


                                                             to   Name:


                                                                  Facility:


                                                                  Street:
                                          Present
                                                                  City:


                                                                  State:              Zip:


                                                             to   Name:


                                                                  Facility:


                                                                  Street:
                                          Present
                                                                  City:


                                                                  State:              Zip:


                                                             to   Name:


                                                                  Facility:


                                                                  Street:
                                          Present
                                                                  City:


                                                                  State:              Zip:


                                                             to   Name:


                                                                  Facility:


                                                                  Street:
                                          Present
                                                                  City:


                                                                  State:              Zip:



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Injury, Illness, or   Did you receive Date range of treatment        Name and address of medical           Narrative /
    Condition           treatment?                                 provider (i.e. treating physician(s)      general
                          Yes / No                                   and/or healthcare facility(ies))     description of
                                                                                                            treatment
                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:



                                                     31
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Injury, Illness, or   Did you receive Date range of treatment        Name and address of medical           Narrative /
    Condition           treatment?                                 provider (i.e. treating physician(s)      general
                          Yes / No                                   and/or healthcare facility(ies))     description of
                                                                                                            treatment
                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:




                                                    32
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Injury, Illness, or   Did you receive Date range of treatment        Name and address of medical           Narrative /
    Condition           treatment?                                 provider (i.e. treating physician(s)      general
                          Yes / No                                   and/or healthcare facility(ies))     description of
                                                                                                            treatment
                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:




                                                    33
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Injury, Illness, or   Did you receive Date range of treatment        Name and address of medical           Narrative /
    Condition           treatment?                                 provider (i.e. treating physician(s)      general
                          Yes / No                                   and/or healthcare facility(ies))     description of
                                                                                                            treatment
                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:




                                                    34
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Injury, Illness, or   Did you receive Date range of treatment        Name and address of medical           Narrative /
    Condition           treatment?                                 provider (i.e. treating physician(s)      general
                          Yes / No                                   and/or healthcare facility(ies))     description of
                                                                                                            treatment
                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:


                                                            to   Name:


                                                                 Facility:


                                                                 Street:
                                        Present
                                                                 City:


                                                                 State:              Zip:




                                                    35
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        41.    Have you or anyone acting on your behalf had any discussions with any doctor or
               other healthcare provider about whether JUUL Products caused or contributed to
               any injuries, illnesses, or conditions?

               Choose Yes/No: __________

               a. If yes, provide, the doctor’s or healthcare provider’s name and address, the
                  approximate date of that discussion.
Doctor’s or healthcare                    Address                    Approximate Date of Discussion
  provider’s name
                                                                                                 to

                                                                                                      Present

                                                                                                 to

                                                                                                      Present

                                                                                                 to

                                                                                                      Present

                                                                                                 to

                                                                                                      Present

                                                                                                 to

                                                                                                      Present

                                                                                                 to

                                                                                                      Present


        42.    If applicable, list the names of all insurers or government health programs who have
               been billed for or paid medical expenses related to any injury, illness, or condition
               that you claim was caused in whole or in part by JUUL Products for which you seek
               recovery in this lawsuit.




        43.    Are you claiming lost wages?

               Choose Yes/No: __________

               a. If yes, provide the approximate amount of lost wages you are claiming.




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XI.   FACT WITNESSES

      44.    Please identify all healthcare providers other than those already identified in this
             Fact Sheet who possess information concerning your JUUL use and/or your
             illness(es)/injury(ies) that you or your medical providers assert resulted from or
             were exacerbated by your JUUL use.

            Name                            Address                        Relationship to You




                                              37
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      XII. PRIOR CLAIMS, LEGAL MATTERS, AND MEDICAL COVERAGE

              45.    Have you ever filed a workers’ compensation claim?

                     Choose Yes/No: __________

              46.    Have you ever filed a claim for Social Security Disability Insurance benefits
                     (“SSDI”)?

                     Choose Yes/No: __________

              47.    Have you ever filed any other lawsuit?

                     Choose Yes/No: __________

                     a. If yes, please describe the nature of the lawsuit:

     XIII.    SMOKING CESSATION

             48.    Did you first use a JUUL Product[1] for smoking cessation?

                             Choose Yes/No/I do not recall: _______________

     XIV.     RETAILER LOYALTY PROGRAMS

             49.    For any Retailer Defendant named in the Master Complaint and identified in
     Question 23 of the Plaintiff Fact Sheet, have you ever been a member of, or enrolled in, a
     loyalty or rewards program offered to customers by the retailer?

                            Choose Yes/No/I do not recall/Not Applicable: _______________

                      a. If yes, for each: identify the retailer, loyalty/rewards program, the
                         names under which you are/were registered for such program, and your
                         membership or identifier number:

      Retailer               Name of            Name(s) Registered in Program Membership/Identifying
                          Loyalty/Rewards                                     Number for the Program
                             Program




       [1]
        JUUL Product” is defined to include all of JUUL’s product, including its vaping device and
JUULpods.


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Retailer                Name of              Name(s) Registered in Program Membership/Identifying
                     Loyalty/Rewards                                       Number for the Program
                        Program




XV.      DOCUMENTS AND AUTHORIZATIONS

      Plaintiff agrees to produce copies of signed and dated authorizations to the extent applicable
      within thirty (30) days of the date of service of this Plaintiff Fact Sheet for the releases listed
      below. Plaintiff agrees that any document request for records to be produced by plaintiff will
      not preclude defendant from also collecting such records directly from the source pursuant to
      the signed authorizations.

      Attach the following documents to this Fact Sheet, making certain that all releases are signed
      and dated within 30 days of submission.

        1.      Medical records release (Ex. A)—leave the “To” field blank.

        2.      If you checked any of the injuries, illnesses, or conditions listed under question
                38(c) - Behavioral Issues/Mental Health, execute the Medical, including Mental
                Health, records release (Ex. A1)—leave the “To” field blank.

        3.      If you are claiming lost wages, execute the IRS Forms (Ex. B) and Employment
                release (Ex. C).

        4.      Execute the disability release (Ex. D) if you answered “yes” to question 46.

        5.      Insurance release (Ex. E).

        6.      Federal disclosure (Ex. F).

        7.      If you contend you used JUUL Products while you were in school and it damaged
                your school performance or grades, please execute the Education release (Ex. G).
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       8. If applicable, decedent’s death certificate and autopsy report.

       9. If applicable, to the extent you have receipts, or proof of purchase for any
          JUUL products, please produce copies of those receipts and other supporting
          documents evidencing the purchase(s).



                                        DECLARATION

       I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that all of the information
provided in this Plaintiff Fact Sheet is true and correct, and that I have supplied all the documents
requested in this Plaintiff Fact Sheet, to the extent that such documents are in my possession,
custody, or control, and that I have supplied the authorizations attached to this declaration. I
understand that I am under an obligation to supplement these responses.




 Signature                                            Date



 Name (Printed)




                                                 40
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                                            EXHIBIT 2 TO CMO NO. 12

                                     UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA


                                                        )
 IN RE JUUL LABS, INC., MARKETING,                      )       MDL No. 2913
 SALES PRACTICES, AND                                   )       Case No. 19-md-02913-WHO
 PRODUCTS LIABILITY LITIGATION                          )       JUDGE WILLIAM H. ORRICK
                                                        )

This Document Relates to:

           Plaintiff: [               ]
           Individual Case Docket No.: [                    ]

                        PERSONAL INJURY PLAINTIFF FACT SHEET ADDENDUM

        Please provide the following additional information for each individual who has filed a complaint or on
whose behalf a complaint has been filed in the In Re Juul Labs, Inc., Marketing, Sales Practices, and Products
Liability Litigation, MDL No. 13-2913. In completing this Plaintiff Fact Sheet Addendum, you are considered
to be under oath and must provide information that is true and correct to the best of your knowledge, information
and belief, pursuant to the Declaration you signed with your latest Plaintiff Fact Sheet. Please do not leave any
questions unanswered or blank. If you are filling out this Plaintiff Fact Sheet Addendum in hard copy, please
use additional sheets as needed to fully respond.

        You may and should consult with your attorney if you have any questions regarding the completion of
this form.

        This Plaintiff Fact Sheet Addendum constitutes discovery responses subject to the Federal Rules of Civil
Procedure. Information provided will only be used for purposes related to this litigation and may be disclosed
only as permitted by the Protective Order.

XIV. SMOKING CESSATION

       48.       Did you first use a JUUL Product1 for smoking cessation?

                 Yes:     No:     I do not recall:


XV.    RETAILER LOYALTY PROGRAMS

        49.     For any Retailer Defendant named in the Master Complaint and identified in Question 23 of the
Plaintiff Fact Sheet, have you ever been a member of, or enrolled in, a loyalty or rewards program offered to
customers by the retailer?

                 Yes:     No:     I do not recall:    Not Applicable ___



       1
           JUUL Product” is defined to include all of JUUL’s product, including its vaping device and JUULpods.
                                                         1 of 2
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                 a. If yes, for each: identify the retailer, loyalty/rewards program, the names under which
                    you are/were registered for such program, and your membership or identifier number:


            Retailer    Name of Loyalty/Rewards Name(s) Registered Membership/Identifying
                               Program             in Program      Number for the Program




                                        PLAINTIFF DECLARATION

        I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that all of the information provided in
this Plaintiff Fact Sheet Addendum is true and correct. I understand that I am under an obligation to supplement
these responses.



Signature                                                      Date


Name (Printed)


                                                       OR


                                        ATTORNEY VERIFICATION

       I verify pursuant to Fed. R. Civ. P. Rule 11 that the information provided herein was provided by and
authorized by the Plaintiff.



Signature                                                      Date


Name (Printed)




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                                        EXHIBIT 3 TO CMO NO. 12

                                  UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA


                                                    )
 IN RE JUUL LABS, INC., MARKETING,                  )       MDL No. 2913
 SALES PRACTICES, AND                               )       Case No. 19-md-02913-WHO
 PRODUCTS LIABILITY LITIGATION                      )       JUDGE WILLIAM H. ORRICK
                                                    )

This Document Relates to:

        Plaintiff: [               ]
        Individual Case Docket No.: [                   ]

                   RETAILER DEFENDANTS’ FACT SHEET - PERSONAL INJURY

        Defendants 7-Eleven, Inc., Speedway LLC, Walmart Inc., Walgreens Boots Alliance, Inc., Circle K
Stores, Inc., and Chevron Corporation (“Retailer Defendants”) must complete the Retailer Defendants’ Fact
Sheet (“RDFS”) in In Re Juul Labs, Inc. Marketing, Sales Practices, and Products Liability Litigation,
MDL No. 13-2913 only for the Plaintiffs who submitted affirmative responses identifying that particular
Retailer Defendant in either Question No. 49 of the Revised Plaintiff Fact Sheet or Question No. 49 of the
Personal Injury Plaintiff Fact Sheet Addendum. In completing this Retailer Defendants’ Fact Sheet, Retailer
Defendants are under oath and must provide information that is true and correct to the best of your
knowledge, information and belief.

        This Retailer Defendants’ Fact Sheet constitutes discovery responses subject to the Federal Rules of
Civil Procedure. Information provided will only be used for purposes related to this litigation and may be
disclosed only as permitted by the Protective Order in this litigation.

                This RDFS pertains to the following case:

                Case caption:

                Civil Action No.:

                Date that this RDFS was completed:

                                           INSTRUCTIONS

            “YOU”, “YOUR”, or “DEFENDANTS” refers to entity(ies) named as defendant(s) in the case
     to which responses in this RDFS are provided.




  THIS INFORMATION IS PROVIDED PURSUANT TO THE PROTECTIVE ORDER ENTERED IN
           THIS LITIGATION AND SHALL BE MAINTAINED AS CONFIDENTIAL
                         CONSISTENT WITH THAT ORDER
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REQUESTS FOR INFORMATION:

       1. Is Plaintiff’s name and/or other identifying information that is provided in response to Question
          49 of the Revised Plaintiff Fact Sheet or Personal Injury Plaintiff Fact Sheet Addendum
          associated with any retailer loyalty or rewards program used to purchase JUUL products?

                        Yes             No

       2. If YOUR answer is “Yes” to question 1 above, please provide the following information in the
          Chart below:


               (a) Name of Retailer, (b) Account Name; (c) Rewards or Loyalty Number; (d) Date(s) of
               purchase of JUUL Products; and (e) Type and Quantity of JUUL products purchased.
 Name of                                                        Date of Purchase          Type and
  Retailer            Account Name            Rewards or            of JUUL              Quantity of
                                               Loyalty           Products Using        JUUL Product(s)
                                               Number             Rewards or           Purchased Using
                                                                    Loyalty              Rewards or
                                                                  Membership               Loyalty
                                                                                         Membership




                                       DOCUMENT REQUESTS
        Please produce all documents (any materials that fall within the scope of the applicable rules of
civil procedure) that fall into the categories listed below. This request excludes documents generated in
connection with this litigation or other litigation brought by this Plaintiff against Retailer Defendant(s):

           1. All transaction records with respect to JUUL Products that relate to or refer to Plaintiff in
              which a loyalty or rewards program membership or subscription was used to purchase the
              JUUL Products.




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                       CONSISTENT WITH THAT ORDER
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                                             CERTIFICATION

       I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that all of the information provided in
this Retailer Defendants’ Fact Sheet is true and correct. I understand that I am under an obligation to
supplement these responses.



Signature                                                 Date


Name/Title (Printed)




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           THIS LITIGATION AND SHALL BE MAINTAINED AS CONFIDENTIAL
                         CONSISTENT WITH THAT ORDER
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